     Case 2:11-cv-02405-KDE-KWR Document 180 Filed 11/29/16 Page 1 of 2




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

WASTE MANAGEMENT OF                 *
LOUISIANA, L.L.C.                   *                CIVIL ACTION NO.: 2:11-cv-02405
                                    *
VERSUS                              *                JUDGE: KURT D. ENGELHARDT
                                    *
RIVER BIRCH, INC., ET AL            *                MAGISTRATE: KAREN WELLS ROBY
                                    *
*************************************

           EX PARTE MOTION AND INCORPORATED MEMORANDUM
               TO ADOPT DEFENDANT FREDERICK R. HEEBE’S
         OPPOSITION TO WASTE MANAGEMENT’S MOTION TO COMPEL

       NOW INTO COURT, through undersigned counsel, come Shadowlake Management

Company, LLC; Willow, LLC; and B.L.U. Communication Services, LLC, which respectfully

move the Court to allow them to adopt and join in the Opposition to Waste Management’s

Motion to Compel filed by defendant Frederick R. Heebe as if copied and pled herein in extenso.

                                                   Respectfully submitted,

                                                   /s/ William P. Gibbens
                                                   William P. Gibbens, 27225
                                                   SCHONEKAS, EVANS, McGOEY &
                                                       McEACHIN, L.L.C.
                                                   909 Poydras Street, Suite 1600
                                                   New Orleans, Louisiana 70130
                                                   billy@semmlaw.com

                                                   Attorneys for Shadowlake Management
                                                   Company, LLC; Willow, LLC; and B.L.U.
                                                   Communication Servics, LLC




                                               1
      Case 2:11-cv-02405-KDE-KWR Document 180 Filed 11/29/16 Page 2 of 2



                                   CERTIFICATE OF SERVICE

        I hereby certify that on November 29, 2016, I electronically filed the foregoing pleading

with the Clerk of Court by using the CM/ECF system which will send a notice of electronic

filing to all counsel of record.

                                             /s/ William P. Gibbens
                                             WILLIAM P. GIBBENS




                                                2
